                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Richard Seeks
                                      Plaintiff,
v.                                                       Case No.: 1:19−cv−02394
                                                         Honorable John J. Tharp Jr.
Boeing Company, The, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 21, 2019:


        MINUTE entry before the Honorable John J. Tharp, Jr: Motion hearing held. The
motions for consolidation of related actions, appointment as lead plaintiff, and approval of
lead counsel [32] [36] [41] [46] [52] are granted in part. The Court orders consolidation of
cases 19 cv 3548 and 19 cv 2394 under case number 19 cv 2394. The Court
administratively terminates case number 19 cv 3548. All further proceedings will go
forward under case number 19 cv 2394. The Court grants defendants&#0;39; motion to
extend defendants' deadline to respond to the complaint [67]. Defendants' responsive
pleading is stayed pending further order of the Court. Responses to the pending motions
for appointment as lead plaintiff, and approval of lead counsel [32] [36] [41] [46] [52] are
due by 7/19/2019; replies due by 8/2/2019. Status hearing set for 6/27/19 and initial status
report due 6/25/19 [16] are stricken. Once the motions are fully briefed, the Court will rule
via CM/ECF and set a future date.Mailed notice (cn).




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